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              IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF CONNECTICUT

                                              April 10th, 2017

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_Matthew Jones_                                                                    Pl     o            :n
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Plaintiff,
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-against-                                                                                                        m
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_Yale University_                                                                  ;;-! c              1-•
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Defendant,                                                                                             en
                                                                 Case   Numb~r 3.' ) 7Ct/ttfJJ                         -mfJ-

                                                                                                      (COMPLAINT)

                                                                                                                (ProSe)

                                                                                                      Jury Demand?

                                                                                                                     No.

I. PARTIES IN THIS COMPLAINT

         Plaintiff

         Plaintiff: Jones, Matthew N. P.

                 11366 Sussex Highway

                 Sussex County, Greenwood                  Delaware        19950

                 (302) 349-5251                    AzraellinusSmith@gmail.com




         Defendant

         Defendant :      Yale University

                         President's Office
                         PO Box 208 229

                         New Haven, CT 06520-8229
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II. BASIS FOR JURISDICTION

Federal Question

In United States law, federal question jurisdiction is the subject-matter jurisdiction of United States
federal courts to hear a civil case because the plaintiff has alleged a violation of the United States
Constitution, federal law, or a treaty to which the United States is a party.

https://www.google.com/webhp?sourceid=chrome-instant&rlz=lClCHBF enUS720US720&ion=l&e
spv=2&ie=UTF-8#g=basis+for+jurisdiction+in+federal+court




Ill. VENUE

Venue is appropriate in this court because:

A substantial part of the events that I am suing about happened in this district. - Under Title 28 U.S.C.
Section 1391

IV. STATEMENT OF A CLAIM

Place(s) of occurrence:_ New Haven, CT_

Date(s) of Occurrence: August- November 2010, but the results led to incarceration and probation
that concluded in May of 2015. Past events in 2007 are related.

(State briefly here the FACTS that support your case. Describe how each defendant was personally
involved in the alleged wrongful acts.)

FACTS:

Yale diagnosed me with Schizophrenia. Schizophrenia sufferers are characterized by their low
intelligence. They do not read, write, or speak clearly. The eat and drink bodily waste.

schiz·o·phre·ni·a
,skitsa'frenea,,skitsa'frenea
noun
a long-term mental disorder of a type involving a breakdown in the relation between thought,
emotion, and behavior, leading to faulty perception, inappropriate actions and feelings, withdrawal
from reality and personal relationships into fantasy and delusion, and a sense of mental
fragmentation.
(in general use) a mentality or approach characterized by inconsistent or contradictory elements.
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https://www.google.com/webhp?sourceid=chrome-instant&rlz=lClCHBF enUS720US720&ion=l&e
spv=2&ie=UTF-8#q=scizophrenia

I was medicated involuntarily with life threatening anti psychotics that altered my weight, pulse,
blood pressure, and sugar, did damage to my liver and heart.

I was held against my will on multiple occasions.

Yale identified Linda C. Jones as my birth mother. Linda is a male-female, XV gender, of whom I am
Power of Attorney of.

Yale participated in a criminal procedure of mine that led to my Bail being placed at $150,000
Cash-Only. I was not afforded a Trial, not allowed to speak in New Haven Superior Court, and
convicted. I served on Probation until 2015. While on probation, I was again evaluated by Yale from
prison to see if I was eligible to stay in a life-long mental health facility for Schizophrenia- that I am
obviously not suffering from!




V. CAUSE OF ACTION


I allege that the following of my constitutional rights, privileges, or im~unities or my
rights under a federal statute have been violated and that the following facts form the
basis of my allegations: (If more space is needed to explain any allegation or to list
additional supporting facts, continue on a blank sheet which you should label "D.
CAUSE OF ACTION.")
Claim 1: Title 18, U.S.C., 1035 False Statements Relating To Health Care Matters



Supporting Facts: (Include all facts you consider important, including names of persons
involved, places, and dates. Describe exactly how each defendant is involved. State
the facts clearly in your own words without citing legal authority or argument.)




Schizophrenia is a misdiagnosis so obvious since I am clearly speaking and an intelligent college
graduate. It could not be construed as a mistake, but only a malicious attempt to harm me!

Considering Linda any other than a disabled dual gendered XV is as egregious. May Yale be known as
the prestigious University that cannot separate human beings by their gender.




Claim II: 18 U.S.C. 7 Assaults
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The medications may have irreparably harmed my body. The misidentifications of gender, status,
mental capacity, and danger led to incarceration, imprisonment, probation, and loss of freedom. It
has greatly impaired my ability to achieve income, receive health care, and find work.




Crimes. Counts. Titles. Laws. Broken. Cited:

18 U.S. Code § 1001 - Statements or entries generally

18 U.S. Code § 1018 - Official certificates or writings

18 U.S. Code § 1028 - Fraud and related activity in connection with identification documents,
authentication features, and information

18 U.S. Code § 1028A- Aggravated identity theft

18 U.S. Code § 1016 - Acknowledgment of appearance or oath

18 U.S. Code § 371- Conspiracy to commit offense or to defraud United States

18 U.S. Code § 880 - Receiving the proceeds of extortion

Title 18, U.S.C., Section 242 Deprivation of Rights Under Color Of Law

Title 18, U.S.C., Section 241 Conspiracy Against Rights

18 U.S. Code § 876- Mailing threatening communications

18 U.S. Code § 2255 - Civil remedy for personal injuries

18 U.S. Code § 373 - Solicitation to commit a crime of violence

18 U.S. Code § 231 - Civil disorders

18 U.S. Code§ 1201- Kidnapping (b)

18 U.S. Code § 1038 - False information and hoaxes

18 U.S.C. 511113 Attempt To Commit Murder Or Manslaughter

18 U.S.C. 511117 Conspiracy To Murder

18 U.S. Code § 2261A- Stalking

18 U.S.C. 7 Assaults

Title 18, U.S.C., 1035 False Statements Relating To Health Care Matters

1610 Assault 18 U.S.C. 351 (e) Department of Justice 18 U.S.

18 U.S.C. 77 1581 Peonage; obstructing enforcement
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18 U.S.C. 77 1583 Enticement into slavery

18 U.S.C. 77 1584 Sale into involuntary servitude

18 U.S.C. 77 1589 Forced labor

18 U.S. Code § 1590 -Trafficking with respect to peonage, slavery, Involuntary servitude, or forced
labor

18 U.S. Code § 1591 - Sex trafficking of children or by force, fraud, or coercion

18 U.S. Code§ 2071- Concealment, removal, or mutilation generally

18 U.S. Code § 2235 - Search warrant procured maliciously

18 U.S. Code § 2236 - Searches without warrant

18 U.S. Code § 2241 -Aggravated sexual abuse

18 U.S. Code § 2248 - Mandatory restitution

18 U.S. Code § 2242 -Sexual abuse

18 U.S. Code § 2253 - Criminal forfeiture

18 U.S. Code § 2252 - Certain activities relating to material involving the sexual exploitation of minors

18 U.S. Code § 2251 - Sexual exploitation of children

Title 18, U.S.C., Section 249 Hate Crime Acts

18 U.S.C. 246 Deprivation of Relief Benefits

18 U.S.C. 245 Federally Protected Activities

18 USC Section 1201

Common Law Claims: Negligence, Loyalty, Privacy Violations

Lindbergh Act of 1932

Delaware Versus Prouse, 1979, 44 U.S. 648

First Amendment to the Constitution

Second Amendment to the Constitution

3rd Amendment

4th Amendment

5th Amendment
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6th Amendment

7th Amendment

8th Amendment

9th Amendment

lOth Amendment

13th Amendment

14th Amendment

15th Amendment




Exhjbits




    1. Linda C. Jones Nude Photos:
           httos://photos.googlC?.com/share/AF1Qip0awW4Lxo0tNy9zmSzZTpio9wYoornfFpfq ZLUSfV
           HSjb73NmSbYTonfHS405PPO?kev=:MOIYbmpreEJ2czlllpNGlxbTZvdU9SN IA3NOZQRUF3
    2.     Stalking Conviction in New Haven Superior Court, Folder:
           https:/lphoros.google.com/share/AF101pOawW4LxoOtNv9zrnSlZTh1io9.wYoomfEofq ZLUSfV
           RSjb73NmSbVTonfH 840~ PPO? key=MOIVbmprer:J2czNo NGtxbTZ.vd U9SNJI\3NOZQRU ~3
    3.     Durable Power of Attorney of Linda C. Jones, facebook:
           https://www.facebook.com/photo.php?fbid=10154257518574464&set=a.10152898011574
           464.1073741853.855609463&type=3&theater
    4.     College Transcripts:
           https://www.facebook.com/photo.php?fbid=10153041404474464&set=a.10152898011574
           464.10737 41853.855609463&type=3&theater




VI. INJURIES

If you have sustained injuries as a result of the events to the alleged above, describe them here:

I have sustained injuries to my heart, intestines, and liver from my wrongful treatment. I have raised
blood pressure and sugar. I have served jail time. It has hindered me as a Power of Attorney of Linda
C. Jones. I have been unable to work with my glaring diagnosis.




VII. RELIEF
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 The relief I want the court to order is:

(check) Money damages in the amount of: $2,000,000,000 -Two Billion United States Dollars,
Currency (USD)

Case Law & Precedent:

Clinton v. Jones, 520 U.S. 681 (1997)

Empress Casino Joliet Corp. et al. v. Rod R. Blagojevich et al., case numbers 09-3975 & 10-1019

USA v. Blagojevich et al., case number 1:08-cr-00888

Jones v. Alfred H. Mayer Company, 379 F. 2d 33 - Court of Appeals, 8th Circuit 1967

Holowaty v. McDonald's Corp., 10 F. Supp. 2d 1078 - Dist. Court, Minnesota 1998

Rufo v. Simpson, 103 Cal. Rptr. 2d 492 - Cal: Court of Appeal, 2nd Appellate Dist., 4th Div. 2001

Slaughter-House Cases, 83 US 36- Supreme Court 1873

University of California Regents v. Bakke, 438 US 265 - Supreme Court 1978

Ritchie v. Simpson, 170 F. 3d 1092- Court of Appeals, Federal Circuit 1999

Kaelin v. Globe Communications Corp., 162 F. 3d 1036 - Court of Appeals, 9th Circuit 1998

Taylor v. louisiana, 419 US 522 - Supreme Court 1975

Burgess v. Chase-Riboud, 765 F. Supp. 233 - Dist. Court, ED Pennsylvania 1991

Youngstown Sheet & Tube Co. v. Sawyer, 343 US 579- Supreme Court 1952

Monell v. New York City Dept. of Social Servs., 436 US 658 -Supreme Court 1978

Monteiro v. Tempe Union High School Dist., 158 F. 3d 1022 - Court of Appeals, 9th Circuit 1998

American Libraries Ass'n v. Pataki, 969 F. Supp. 160- Dist. Court, SO New York 1997

Schulman v. Huck Finn, Inc., 472 F. 2d 864- Court of Appeals, 8th Circuit 1973

Americans with Disabilities Act, Pub. L. No. 101-336, 104 Stat. 327 (1990)

(codified at 42 U.S.C. §§ 12101-12213 (Supp. IV 1992)).

42 U.S.C. §§ 12111-12117 (Supp. IV 1992)

Dr. Seuss Enterprises, LP v. Penguin Books, 109 F. 3d 1394- Court of Appeals, 9th Circuit 1997

Thirteenth Amendment to the United States Constitution

Civil Liberties Act of 1988
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Cain v. Universal Pictures Co., 47 F. Supp. 1013- Dist. Court, SO California 1942

The State of California v. Orenthal James Simpson, Case: BA097211




VIII. CLOSING

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my

knowledge, information, and belief that this complaint: (1) is not being presented for an improper

purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;

{2) Is supported by existing law or by a nonfrivolous argument for extending or modifying

existing law; and (3) complies with the requirements of Rule 11.

I agree to provide the Clerk's Office with any changes to my address where case-related papers

may be served. I understand that my failure to keep a current address on file with the Clerk's

Office may result in the dismissal of my case.




_ _4/ 10/ 2017_ _ _ __

Dated                                                     Plaintiff's Signature




_Jones, Matthew, N.P_ _ _ _ _ _ __

Printed Name (Last, First M.l.)




11366 Sussex Highway              Greenwood         Delaware_ _ 19950

Address                  City            State            Zip Code




_(302)349-5251._ _ _ _ _ _ _ _ _ _ __,:AzraellinusSmith@gmail.com _ _

Telephone Number                                          Email Address (if available)
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Plaintiff need not send exhibits, affidavits, grievance or witness statements, or any other

materials to the Clerk's Office with this complaint.
